846 F.2d 74Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Lee SMITH, Petitioner-Appellant,v.STATE OF SOUTH CAROLINA, T. Travis Medlock, Respondents-Appellees.
    No. 88-6523.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 13, 1988.Decided May 13, 1988.
    
      Robert Lee Smith, appellant pro se.
      Frank Louis Valenta, Jr., Assistant Attorney General, for appellees.
      Before K.K. HALL, SPROUSE, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 is without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Smith v. State of South Carolina, C/A No. 3:87-2108-K (D.S.C. Dec. 28, 1987).
    
    
      2
      DISMISSED.
    
    